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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

RESIiUDIA KEYRIA RICKS,                      )

            Plaintiff,                       \

vs.                                         }
                                            ) Civil Action
LISA WILLIAMS BLAICE, M.D.,                 I File No. 4:15-CV-240-HLM
NORTHWEST GEORGIA MEDICAL                   )
CLINIC, P.C, and NORTHWEST                  )
GEORGIA MEDICAL CLRvlIC II, LLC,            }
            Defendants.                      )

 CONSENT ORDER EXTENDING DEADLINE FOR FILING PRE-TRIAL
                       ORDER

      WHEREAS, this matter comes before the Court on the Parties' Consent

Motion for an Extension of Time to File a Pre-Trial Order,

      IT IS HEREBY ORDERED that said Motion in the above-styled civil action

is GRANTED. The time for the Parties to file their Consolidated Pre-Trial Order

shall be extended up to and including October3, 2017

      SO ORDERED this / ^ ^ y o f         AAffJh-r-          2017.




                                   THE HONORABLE HAROLD LflVlWPHY
                                   UNITED STATES DISTRICT COURT FOR
                                   THE NORTHERN DISTRICT OF GEORGIA
